     Case 2:21-cv-00117-VAP-E Document 9 Filed 01/15/21 Page 1 of 11 Page ID #:110


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10

11                        UNITED STATES DISTRICT COURT
12
                        CENTRAL DISTRICT OF CALIFORNIA
13

14
      JAIME FLORES,                          Case No.: 2:21-cv-00117-VAP-E
15

16                 Plaintiff,                DEFENDANT SHERIFF ALEX
      vs.                                    VILLANUEVA’S ANSWER TO
17                                           PLAINTIFF’S COMPLAINT;
18    LOS ANGELES COUNTY                     DEMAND FOR JURY TRIAL
      SHERIFF’S DEPARTMENT,
19
      ALEX VILLANUEVA, and DOES
20    1–20, inclusive,
21
                   Defendants.
22

23          Defendant Sheriff Alex Villanueva (“Defendant”) answers Plaintiff Jaime
24   Flores’ (“Plaintiff”) Complaint for Damages as follows:
25                                  General Allegations
26   1.     Defendant lacks information sufficient to admit or deny the truth of the
27          allegations on pages 1 to 3 of Plaintiff’s Complaint, except that Defendant

28          lacks that Plaintiff has suffered any damages, that any damages Plaintiff

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     Case 2:21-cv-00117-VAP-E Document 9 Filed 01/15/21 Page 2 of 11 Page ID #:111


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           suffered was caused by Defendant, and that Plaintiff is entitled to damages
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           or a judgment in connection with his Complaint.
 3
                              Claim #1—General Negligence
 4   2.    In answering the first sentence of Claim #1, Defendant lacks information
 5         sufficient to admit or deny the truth of the allegations.
 6   3.    In answering the second sentence of Claim #1, Defendant lacks information
 7         sufficient to admit or deny the truth of the allegations asserted.
 8   4.    In answering the third sentence of Claim #1, Defendant lacks information
 9         sufficient to admit or deny the truth of the allegations asserted.
10   5.    In answering the fourth sentence of Claim #1, Defendant lacks information
11         sufficient to admit or deny the truth of the allegations asserted.
12   6.    In answering the fifth sentence of Claim #1, Defendant lacks information

13         sufficient to admit or deny the truth of the allegations asserted.
     7.    In answering the sixth sentence of Claim #1, Defendant lacks information
14
           sufficient to admit or deny the truth of the allegations asserted.
15
     8.    In answering the seventh sentence of Claim #1, Defendant lacks information
16
           sufficient to admit or deny the truth of the allegations asserted.
17
     9.    In answering the eighth sentence of Claim #1, Defendant lacks information
18
           sufficient to admit or deny the truth of the allegations asserted.
19
     10.   In answering the ninth sentence of Claim #1, Defendant lacks information
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           sufficient to admit or deny the truth of the allegations asserted.
21
     11.   In answering the tenth sentence of Claim #1, Defendant lacks information
22         sufficient to admit or deny the truth of the allegations asserted.
23   12.   In answering the eleventh sentence of Claim #1, Defendant lacks
24         information sufficient to admit or deny the truth of the allegations asserted.
25                  Claim #2—General Negligence (Negligent Hiring)
26   13.   In answering the first sentence of Claim #2, Defendant denies the truth of
27         the allegations asserted.
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     Case 2:21-cv-00117-VAP-E Document 9 Filed 01/15/21 Page 3 of 11 Page ID #:112


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     14.    In answering the second sentence of Claim #2, Defendant denies the truth of
 2
            the allegations asserted.
 3
     15.    In answering the third sentence of Claim #2, Defendant denies the truth of
 4          the allegations asserted.
 5   16.    In answering the fourth sentence of Claim #2, Defendant denies the truth of
 6          the allegations asserted.
 7   17.    In answering the fifth sentence of Claim #2, Defendant denies the truth of
 8          the allegations asserted.
 9   18.    In answering the sixth sentence of Claim #2, Defendant lacks information
10          sufficient to admit or deny the truth of the allegations asserted.
11   19.    In answering the seventh sentence of Claim #2, Defendant denies the truth of
12          the allegations asserted.

13                             Claim #3—General Negligence
                (Vicarious Liability—Police Officer’s Misuse of Authority)
14
     20.    In answering the first sentence of Claim #3, Defendant denies the truth of
15
            the allegations asserted.
16
     21.    In answering the second sentence of Claim #3, Defendant lacks information
17
            sufficient to admit or deny the truth of the allegations asserted.
18
     22.    In answering the third sentence of Claim #3, Defendant lacks information
19
            sufficient to admit or deny the truth of the allegations asserted.
20
     23.    In answering the fourth sentence of Claim #3, Defendant denies the truth of
21
            the allegations asserted.
22                               Claim #4—Intentional Tort
23         (Intentional Infliction of Emotional Distress with Reckless Disregard)
24   24.    In answering the first sentence of Claim #4, Defendant lacks information
25          sufficient to admit or deny the truth of the allegations asserted.
26   25.    In answering the second sentence of Claim #4, Defendant denies the truth of
27          the allegations asserted.
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     Case 2:21-cv-00117-VAP-E Document 9 Filed 01/15/21 Page 4 of 11 Page ID #:113


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     26.   In answering the third sentence of Claim #4, Defendant denies the truth of
 2
           the allegations asserted.
 3
     27.   In answering the fourth sentence of Claim #4, Defendant lacks information
 4         sufficient to admit or deny the truth of the allegations asserted.
 5   28.   In answering the fifth sentence of Claim #5, Defendant lacks information
 6         sufficient to admit or deny the truth of the allegations assertion
 7   29.   In answering the sixth sentence of Claim #5, Defendant denies the truth of
 8         the allegations asserted.
 9               Claim #5—Intentional Tort (Battery of Police Officer)
10   30.   In answering the first sentence of Claim #5, Defendant lacks information
11         sufficient to admit or deny the truth of the allegations asserted.
12   31.   In answering the second sentence of Claim #5, Defendant lacks information

13         sufficient to admit or deny the truth of the allegations asserted.
     32.   In answering the third sentence of Claim #5, Defendant denies the truth of
14
           the allegations asserted.
15
     33.   In answering the fourth sentence of Claim #5, Defendant lacks information
16
           sufficient to admit or deny the truth of the allegations asserted.
17
     34.   In answering the fifth sentence of Claim #5, lacks information sufficient to
18
           admit or deny the truth of the allegations asserted.
19
     35.   In answering the sixth sentence of Claim #5, lacks information sufficient to
20
           admit or deny the truth of the allegations asserted.
21
     36.   In answering the seventh sentence of Claim #5, Defendant denies the truth of
22         the allegations asserted.
23   37.   In answering the eighth sentence of Claim #5, Defendant denies the truth of
24         the allegations asserted.
25         Claim #6—Civil Rights Unreasonable Force by Law Enforcement
26   38.   In answering the first sentence of Claim #6, Defendant lacks information
27         sufficient to admit or deny the truth of the allegations asserted.
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     Case 2:21-cv-00117-VAP-E Document 9 Filed 01/15/21 Page 5 of 11 Page ID #:114


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     39.   In answering the second sentence of Claim #6, Defendant denies the truth of
 2
           the allegations asserted.
 3
     40.   In answering the third sentence of Claim #6, Defendant lacks information
 4         sufficient to admit or deny the truth of the allegations asserted.
 5   41.   In answering the fourth sentence of Claim #6, Defendant lacks information
 6         sufficient to admit or deny the truth of the allegations asserted.
 7   42.   In answering the fifth sentence of Claim #6, Defendant denies the truth of
 8         the allegations asserted.
 9   43.   In answering the sixth sentence of Claim #6, Defendant denies the truth of
10         the allegations asserted.
11   44.   In answering the seventh sentence of Claim #6, Defendant denies the truth of
12         the allegations asserted.

13                    Claim #7—Civil Rights Excessive Use of Force
     45.   In answering the first sentence of Claim #7, Defendant lacks information
14
           sufficient to admit or deny the truth of the allegations asserted.
15
     46.   In answering the second sentence of Claim #7, Defendant denies the truth of
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           the allegations asserted.
17
     47.   In answering the third sentence of Claim #7, Defendant denies the truth of
18
           the allegations asserted.
19
     48.   In answering the fourth sentence of Claim #7, Defendant lacks information
20
           sufficient to admit or deny the truth of the allegations asserted.
21
     49.   In answering the fifth sentence of Claim #7, Defendant denies the truth of
22         the allegations asserted.
23   50.   In answering the sixth sentence of Claim #7, Defendant denies the truth of
24         the allegations asserted.
25   51.   In answering the seventh sentence of Claim #7, Defendant denies the truth of
26         the allegations asserted.
27   ///
28   ///
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     Case 2:21-cv-00117-VAP-E Document 9 Filed 01/15/21 Page 6 of 11 Page ID #:115


 1
                                    Remaining Allegations
 2
     52.   Defendant denies the truth of any remaining allegations that were not
 3
           previously addressed.
 4                                   Affirmative Defenses
 5                                 First Affirmative Defense
 6   1.    Plaintiff’s Complaint fails to state a cause action upon which relief can be
 7         granted.
 8                              Second Affirmative Defense
 9   2.    The damages alleged in the Complaint are the sole and proximate
10         responsibility and liability of persons/entities other than Defendant.
11                               Third Affirmative Defense
12   3.    Defendant and DOEs acted with good faith and due care in carrying out their

13         duties.
                                Fourth Affirmative Defense
14
     4.    Plaintiff’s Complaint is barred by the statute of limitations.
15
                                 Fifth Affirmative Defense
16
     5.    Plaintiff’s state law claims are barred by the failure to comply with the
17
           Government Tort Claims Act
18
                                 Sixth Affirmative Defense
19
     6.    Defendant is not vicariously liable because DOEs were acting outside the
20
           course and scope of their employment.
21
                                Seventh Affirmative Defense
22   7.    Plaintiff’s recovery is barred or reduced because he was comparatively
23         negligent.
24                              Eighth Affirmative Defense
25   8.    Plaintiff’s recovery is barred or reduced by the failure to mitigate his
26         damages.
27   ///
28   ///
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     Case 2:21-cv-00117-VAP-E Document 9 Filed 01/15/21 Page 7 of 11 Page ID #:116


 1
                                 Ninth Affirmative Defense
 2
     9.    Defendant is not vicariously liable for any claim brought under 42 U.S.C. §
 3
           1983 as there is no respondeat superior liability under that statute.
 4                               Tenth Affirmative Defense
 5   10.   DOEs acted in self-defense to ensure their safety as well as the safety of
 6         others.
 7                             Eleventh Affirmative Defense
 8   11.   Defendant and DOEs are not liable for any act or omission because they
 9         were responding to an emergency situation.
10                              Twelfth Affirmative Defense
11   12.   This Defendant sued in his official capacity is a redundant defendant to
12         Defendant Los Angeles County Sheriff’s Department

13                            Thirteenth Affirmative Defense
     13.   This Defendant is entitled to qualified immunity because it was not clearly
14
           established that any act or omission could constitute a constitutional
15
           violation.
16
                              Fourteenth Affirmative Defense
17
     14.   This Defendant had no personal involvement in any act or omission alleged
18
           in the Complaint and therefore cannot be subject to lability.
19

20   Dated: January 15, 2021                IVIE McNEILL WYATT
21                                          PURCELL & DIGGS

22
                                     By:    /s/ Jack F. Altura_____________
23                                          RICKEY IVIE
24                                          JACK F. ALTURA
                                            Attorneys for Defendant
25                                          SHERIFF ALEX VILLANUEVA
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     Case 2:21-cv-00117-VAP-E Document 9 Filed 01/15/21 Page 8 of 11 Page ID #:117


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 2                            DEMAND FOR JURY TRIAL
 3         Defendant hereby demands a jury trial for all actions so triable.
 4
     Dated: January 15, 2021                IVIE McNEILL WYATT
 5                                          PURCELL & DIGGS
 6

 7                                   By:    /s/ Jack F. Altura_____________
                                            RICKEY IVIE
 8                                          JACK F. ALTURA
 9                                          Attorneys for Defendant
                                            SHERIFF ALEX VILLANUEVA
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     Case 2:21-cv-00117-VAP-E Document 9 Filed 01/15/21 Page 9 of 11 Page ID #:118




 1
                                  PROOF OF SERVICE
 2
           STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 3
 4         I am employed in the County of Los Angeles, State of California; I am over
 5   the age of 18 and not a party to the within action; my business address is 444 South
     Flower Street, Suite 1800, Los Angeles, California, 90071.
 6
 7          On January 14, 2021, I served the foregoing document described as the
     DEFENDANT SHERIFF ALEX VILLANUEVA’S ANSWER TO
 8
     PLAINTIFF’S COMPLAINT; DEMAND FOR JURY TRIAL on the interested
 9   parties in this action by placing true copies thereof enclosed in sealed envelopes as
10   addressed on the service list:

11                          SEE ATTACHED SERVICE LIST
12
           [ ]    BY PERSONAL DELIVERY:                 I caused such document to be
13
                  delivered by hand to the addressee with delivery time prior to 5:00 pm
14                on the date specified above.
15
           [X]    BY MAIL: I caused such envelope to be deposited in the mail at Los
16                Angeles, California, with first class postage thereon fully prepaid. I
17                am readily familiar with the business practice for collection and
                  processing of correspondence for mailing. Under that practice, it is
18                deposited with the United States Postal Service on that same day, at
19                Los Angeles, California, in the Ordinary course of business.
                  I am aware that on motion of the party served, service is presumed
20
                  invalid if postage cancellation date or postage meter date is more than
21                one (1) day after the date of deposit for mailing in affidavit.
22
           [X]    Email: See attached service list.
23
24         [ ]    BY FEDERAL EXPRESS OVERNIGHT DELIVERY: I am
                  “readily familiar” with the firm’s practice of collection and processing
25
                  correspondence for Federal Express. Under that practice, it would be
26                picked up by a representative on that same day, in the ordinary course
27                of business and would be delivered the next business day.

28
     Case 2:21-cv-00117-VAP-E Document 9 Filed 01/15/21 Page 10 of 11 Page ID #:119




 1
           [X]   (Federal) I declare under penalty of perjury under the laws of the State
 2               of California that the above is true and correct..
 3
           Executed on January 14, 2021, Los Angeles, California.
 4
 5        MARTHA I. CARRILLO                                 /s/ Martha I. Carrillo
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     Case 2:21-cv-00117-VAP-E Document 9 Filed 01/15/21 Page 11 of 11 Page ID #:120




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